ccc tain ker
/ of)

a

foun ad!
Bj 7 x2

. hau
Ere) ok I 9 a

=>

HA? gee
‘ “Ole TM ero TOR ? oa ge AO
’ oot aod Bh a
IRTP TI ad (72 900 APR TR | 17°
2} 3 v ID DE ARO «
(eR fo 8 $08 He P 0 CORT,
3 fof aro
=F = DORA, OS9'LLT [0
Gor'seT -ass'tzt [0
£ Teehehy erie F pert : : ;
Seren ete GST MGT oe ree OSE tefr fo Spe peep rH
6 ieee ee ne —— _ 000°81 — et _
2 inthe et a = Patna ore __ 0 i aie ei of tae (oT bee
T rier ree « 1O/TO pane ate yh ey oer ff Can'ep “S009 * =e Soo ae
imi P aan a es eos coo'zer[ * [Pam Ar oP
cn
re “ws | woz = ca0z «| «poor or
mo OF Cy ery —== LE ai ter Pir et fiat | Moma | owe 7RPRED
resets wre Tere POUT
Se opth ef young inty gee Cpt PAP pte

NAWLNYdSd LSOGNH TWHINTO = E391 AML £00¢-d4S~rO

Gey bbe B cLB00 “GN KU

‘d

10

02:000740

CONFIDENTIAL
? [71
ro PR wre FONT VID 9

shay re
ay cooG ens
oye eg

pb eeepergin eae.

{

mb avo Sh A IMATE OE 7 OAK
“ 2 (42 9 ard om Are

oor FS

\

yeu
ome

re

oye
art yee ie

rie? S oor?
5 eor'RLI -as91E1 0
—— cone _ Dop’siT -asotis1 fo
: — = a TST TOS oe tye "Och z he fa Shp sae
i — — LOO iZIfe poeta eas] eo errr
—. en mee IQO 'ZUTE  iesO orate . ae
z frat we Cpa tt . ! OOF'B ooz'L hr c
ee = = von [eho Tae Petron ey loce cow — = em (oi der"
: Loria loos Sat errs Tee or ee
fees etsy army ms OFET SCOOT ae Pom ef oe a oe
t
. ors toot = ganz—«|srone or
THI a be aeger boty rte | chy ere otttny Rene Ryne Fee? | Mtmer | 69 roy
ety way pO0T
Fs ° .
mt MP orf Mo Pinky gery Creme oa ater

NAWLEYdHd LHDCAG WHINID = Pes) AHL £00e~-da5-P0

Gevibbe UY clO00 ‘ON kv

‘d

02:000742

CONFIDENTIAL
Daneel

crt SO AM Kor)

wor nl eine

sreg lb ET IMO a

ob aoo'Gh CO TO ere toE 7 ooo he

ARGV? T) AA oud (72 ~ Are va 4 1
gro pro bier)

[RAJ oh 99

afrof AMD

lend nr ex AD

7 Oar. ,

fem 3 )
‘Bis 2
ee >

= OOr'HLE ,0R9'LLI | 0
. ODF'SLE -osatzz1 fo
& trerhy eee Flere ‘ ,
‘ COMI. 10/1 eS pet ant . j
P ety prey Feral ° : . OPS stefe eth cote h TS ee
* mn — . 1 TOO :Zi/te cerns S09 — & ed
impale tone jeune “= ne meine PAG 000sr RL + i oh ire
hehy y rat f Fe ‘ _
itm Py £00 SO/OE . pats ODOT] ooo'zD1 ret SP reste eae pe” oe ee
.
' f
ove : tO07 £007 >Ooz mt
TT i bv oer Spree | chy ets airy henge Fefin a? Pet at Metin of * ronwe
° wry eats POOT ~—
tT? :
se srr erft fey agente gery Cheer?

mnt trae

pe? MHL €002-da5-P0

NAMLAVdSad L3DGAG Walla

DEP Pee @ ci600 “ON X¥d

d

10

02:000744

CONFIDENTIAL
2 BASES L

ree eam ae

IRR 9 59

3 fof ao

wra\iegnes
for

‘ape?

a

eo M$ ‘yb er Ko

Wd rend oon roe

\

2 a0d8h “PMO BOE weafhege
ART? YD AH es (72 m0 POR Fa | 1%

ae ‘

2

my *
7.

ret? ox?

5 DOP‘ELT jOso'Ley 10
§ eS ere Fie . . OOP 'RLT -asotT Jo
: — <= a TOSE TQAST el eta? Toor T an To HAD nme
; wae oe ae ' WOO FZHE poet ae TOR x a mire |
; a Fant TOO IZYIE fe tqyo OPE ORL = wae oe
Se : Nene Tait Per TI Hy cao oe se SPs oAw
re a ! L010 iS0/0E PC oirres OOP ZT 000201 * mee Fee AP ee op

i
vert mrt: he : TOOT £007 poor wr
\ rie + rie
tie ay Cpr | chy ery ee Fein of Ret ya of | Betin op #3 ner
fs * -
™ SHE este My yor tiety ery Creme? wedge

NAWLUYdS@ LTASGNG WINS = PE:OE AHL E00¢-deS-P0

DevlyGc @ ci600 ‘ON X¥3

‘"d

10

02:000746

CONFIDENTIAL
Les, cpa
sxtnce J fa po her wee
Syqergom avo Ry Am FO ve ? 00h -

1-12 Qa? {72 ve POR TH om 19

Ao 6d aren 19° OK TRO

\
3fof p™D

02:000748

bESE AHL CO0c-ddS-b0

NAWLEVd30 LAD0RG TWaLNaO

Oerlbde @ cl60G “ON XV

grietS my?
OOP'zLt jO89°LAT 10

, preety Cores -asozs? {pb
g wr ‘| ,
. = irre ee i CUS] 1ST Pest tet / TOSP ate fat Ppa ene
pierre aa : OO ZINE re ae a0" eee
Zo refeR ime rom od TOO ZIRE pat rie? Dor’ ae. a are Cm er! 2007 Co1 bert
; meh mr ERE | 10/10 zit Pee gerFeO amd mag dea lo corey vont yates ‘
oie Pee in. £079 19008 if ier oF OOOTLL 00020 eet [eter Af pt ot ap

t {

, ZOOT = Gaz Poor on
re Py —— ms ers urs ay there PYfina! Pine? | Mf a? | wee
tore ets PROT
fr. .
Sa ae SET oye Bef perlrty ieee Crepe

‘d

1G

CONFIDENTIAL
